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IN THE UNITED STATES DISTRICT COURT TNUIS PRICY 35 Ky
FOR THE WESTERN DISTRICT OF KENTUCKY 11 JUN27 AM 9: 99

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vi vs

UNITED STATES OF AMERICA ,

)

)

Plaintiff(s), )

. ) CASE NO. 10 CR 35-H

v. )
)

RODRIGO MACIAS-FARIAS, )
)
)

Defendant(s).

MOTION FOR LEAVE TO APPEAR PRO HAC VICE

Pursuant to LR 83.2 AND LCrR 57.2, I, Sally Pissetzky, respectfully move this
Honorable Court to be admitted to practice in the United States District Court for the Western
District of Kentucky, for purposes of this case only.

1. I certify that I am a member in good standing of the Bar of Illinois, and a member in
good standing in the Court of Appeals for the Seventh Circuit. (See attached exhibit for other
admissions).

2. Pursuant to LR 83.2 AND LCrR 57.2, I have attached the required affidavit in support
of this motion, along with a proposed order granting this motion.

3. Pursuant to LR 83.2 AND LCrR 57.2, I consent to be subject to the jurisdiction and
rules of the Kentucky Supreme Court governing professional conduct.

4. Pursuant to Joint General Order 08-02, I have completed mandatory electronic case

filing training in the Northern District of Illinois.

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WHEREFORE, I, Sally Pissetzky, respectfully request that this Honorable Court grant

my motion for admission Pro Hac Vice in this case only.

Respectfully submitted,

/s/Sally Pissetzky

Sally Pissetzky

53 W. Jackson Blvd, Suite 1430
Chicago, IL 60604
(312)566-9900

